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 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,          )        1:07-cr-0264 AWI
12                                      )
                     Plaintiff,         )
13                                      )
          v.                            )        STIPULATION RE:
14                                      )        CONTINUANCE AND ORDER
     KULWANT LASHER,                    )
15   TARLOCHAN LASHER,                  )
     and                                )
16   JASWINDER LASHER,                  )
                                        )
17                                      )
                     Defendants.        )
18   ___________________________________)

19        Defendant KULWANT LASHER, by and through his attorney,

20   ANTHONY CAPOZZI, Defendant TARLOCHAN LASHER, by and through his

21   attorney, CARL M. FALLER, and Defendant JASWINDER LASHER, by and

22   through his attorney, ROGER NUTTALL, and the United States of

23   America, by and through its attorneys, LAWRENCE G. BROWN, United

24   States Attorney, and KAREN A. ESCOBAR and SHEILA K. OBERTO,

25   Assistant United States Attorneys, hereby enter into the following

26   stipulation:

27        1.   The parties to the above-captioned matter agree to vacate

28   the December 1, 2009, trial date and reset the matter for trial on

                                          1
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 1   March 9, 2010, at 8:30 a.m. and to vacate the trial confirmation

 2   hearing set for November 16 at 11:00 a.m. and reset the trial

 3   confirmation/motion in limine hearing for February 22, 2010, at

 4   11:00 a.m.

 5        2.   The parties further agree that motions in limine shall be

 6   due on or before February 1, 2010, at or before 4:00 p.m., any

 7   responses to motions in limine shall be due on or before February

 8   8, 2010, at or before 4:00 p.m., and any replies shall be due on

 9   or before February 15, 2010, on or before 4:00 p.m.

10        3.   The parties stipulate that the continuance is

11   necessitated by the defendants’ need to further investigate and

12   prepare for trial and/or to negotiate a resolution of this matter.

13        4.   The parties stipulate that time would be excluded under

14   the Speedy Trial Act and that the ends of justice served by

15   granting the requested continuance outweigh the best interests of

16   the public and the defendant in a speedy trial, in that the

17   failure to grant the continuance would deny counsel for defense

18   and the government a reasonable period of time to adequately

19   prepare for trial.

20   DATED: October 2, 2009                       Respectfully submitted,

21                                                LAWRENCE G. BROWN
                                                  United States Attorney
22                                                SHEILA K. OBERTO
                                                  Assistant U.S. Attorney
23
                                                  By: /s/ Karen A. Escobar
24                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
25

26                                                 /s/ Anthony Capozzi
                                                   ANTHONY CAPOZZI
27                                                 Attorney for Defendant
                                                   KULWANT LASHER
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 1                                                 /s/ Carl M. Faller
                                                   CARL M. FALLER
 2                                                 Attorney for Defendant
                                                   TARLOCHAN LASHER
 3

 4                                                 /s/ Roger Nuttall
                                                   ROGER NUTTALL
 5                                                 Attorney for Defendant
                                                   JASWINDER LASHER
 6
                                   O R D E R
 7
              Having read and considered the foregoing stipulation,
 8
              IT IS THE ORDER of the Court that the current trial date of
 9
     December 1 is hereby vacated and the trial is reset for March 9,
10
     2010, at 8:30 a.m. and the motions in limine/trial confirmation
11
     hearing currently set for November 16 at 11:00 a.m. is hereby
12
     vacated and reset for February 22, 2010, at 11:00 a.m.
13
              IT IS FURTHER ORDERED THAT any motions in limine shall be due
14
     on or before February 1, 2010, at or before 4:00 p.m., any
15
     responses to motions in limine shall be due on or before February
16
     8, 2010, at or before 4:00 p.m., and any replies shall be due on
17
     or before February 15, 2010, on or before 4:00 p.m.
18
              The Court also finds that the ends of justice served by
19
     granting the requested continuance outweigh the best interests of
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     the public and the defendant in a speedy trial, in that the
21
     failure to grant the continuance would deny counsel for the
22
     defense and government a reasonable period of time to adequately
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     prepare for trial or reach a resolution through plea negotiations.
24
     WHEREFORE IT IS HEREBY ORDERED that time shall be excluded in the
25
     interest of justice.
26
     IT IS SO ORDERED.
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     Dated:     October 7, 2009             /s/ Anthony W. Ishii
28   0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE

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